   8:05-cr-00116-LSC-TDT   Doc # 326   Filed: 06/03/08    Page 1 of 1 - Page ID # 1388




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )            8:05CR116
              Plaintiff,               )
                                       )
   vs.                                 )                 ORDER
                                       )
ROBERT McFARLAND,                      )
                                       )
              Defendant.               )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

   IT IS ORDERED:

   David A. Christensen is appointed to represent the above named
defendant in this matter and shall forthwith file an appearance in this
matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and David A. Christensen.

   DATED this 3rd day of June, 2008.

                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge
